24-0368

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$C. communitychoice
credit union
CommunityCholce.com|877.243.2528

[_] Covered Borrower Under Military Lending Act

Loan and Security Agreements
and Disclosure Statement

FIMED RATE TC] STEP RATE LOAN DATE ACCOUNT NUMBER

LOAN NUMBER MATURITY DATE
0006 8/25/2029

[] VARIABLE RATE 1/24/2023

BORROWER 4 Name&Aadess)

“BORROWER 2 (Name & Address)" 8s

ROKE
——— Ben 48322

TBORROWERS (Name & Address)

“BORROWER 4 (Name @ Address) |

ANNUAL PERCENTAGE RATE FINANCE CHARGE

TRUTH IN LENDING DISCLOSURE (‘e’ means an estimate). ©

Total Sale Price

The cost of Your credit as a yearly rate. The dollar amovat the credit The amount of credil

Amount Financed Total of Payments
The amount You will have

The total cost of Your purchase on credit is

will cost You, provided to You or on paid after You have made $112,935.48
Your behalf. all payments as scheduled. which includes Your downpayment of
8,490 % $26,195.36 $82,499.00 $112,935.48 $0.00 4
Your Payment Schedule Will Be: Sepa niel if You pay off early You will not have to
Number of Payments Amount of Payments When Payments Are Due [P@y 4 penalty,
ae y * Required Deposit: The Annual Percentage Rate does
7 $1,447.90 MONTHLY beginning = 3/28/2023 Inot take into account Your required deposit, f any.
Demand: [_] This obligation has a demand feature.
1 $1,447.18 8/25/2029 ["] Al disclosures are based on an assumed

maturity of one year.

Property Insurance: You may obtain property insurance irom anyone You want
that Is acceptable to the Credit Union. If You get the insurance from the Credit
Union You will pay $0.00

Filing Fees
$0.00

Non-Filing Insurance
$0.00

Late Charge:

if any [oan paymentis received 10 (ten) or more days past the due date, a late fee of 5% of the payment will be assessed with a minimum of $15.00.

Security: Collateral securing other loans with the Credit Union may also secure this Loan. You are giving a securily interest in
Your shares and dividends and, f any, Your deposits and interest in the Credit Union; and the Property described below:

Collateral Property/MedelMake Year  |.D, Number Type Value Key Number
CHEVROLET CORVETTE 2020 181Y62D46L5103160 COUPE 2D # $79,150.00
§
$
Oiher (Describe}
Pledge of Shares $ in Account No. $ in Account No.

Variable Rate:

the scheduled date.

See Your contract documents for any additional information about nonpayment, default, and any required repayment in full before

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Credil Union Community Choice Credit Union Acet Loan No. 00068
TEMIZATION OF THE AMOUNT FINANCED (‘e’ means an-estimate) 2.

Kemization of Amount Financed of Amount Given to You Directly Amount Paid on Your Account Prepaid Finance Charge

$82,499.00 $13,385.03 $6,422.34 $0.00
Amounts Paid to Others on Your Behalf: (if an amount is marked with an asterisk (*} We will be retaining a portion of the amount.}
$62,192.63 To CHASE AUTO FINANCE $499.00 To GAP FEE
§ To $ To
$ To $ To
$ To $ To
$ To $ To
$ To $ To
$ To $ To
[es ee MILITARY:LENDING ACT DISCLOSURES Soe a

Federal law provides important protections to members of the Armed Forces and their dependents relating to extensions o
consumer credit. In general, the cost of consumer credit to a member of the Ammed Forces and his or her dependent may not
exceed an annual percentage rate of 36 percent. This rate must include, as applicable to the credit transaction or account: The
costs associated with credit insurance premiums; fees for ancillary products sold in connection with the credit transaction; any
application fee charged (other than certain application fees for specified credit transactions or accounts}; and any participation
fee charged (other than certain participation fees for a credit card account),

Please call Us at (877) 243-2528 to recelve oral disclosures of the Military Lending Act disclosure above and a description of the payment obligation.

nion whose name

4, PROMISE TO PAY - Yau promise to pay $82,499.00 _—_ to the Credit Union plus interest on the unpaid balance until what You
owe has been repaid.

For fixed rate loans, the interest rate js 8,490 % per year.

For step-rate loans, the initial interest rate will be % until and then the interest rate will be %
until the balance is repaid in full.

For variable rate loans, the initial interest rate Is % per year and will vary as follows:

Collection Costs:
You promise lo pay all costs of collecting the amount You owe under this Agreement to the extent permitted by state law,

2. PAYMENTS - You promise to make payments of the amount and at the time shown in the Truth in Lending Disclosure. ff this is
a variable rate loan, the Promise to Pay section tells You whether, if the interest rate increases, You will have to make more
Payments, higher payments, or if the final payment will be a balloon payment. You may prepay any amount without penalty. ff
ou prepay any part of what You owe, You are still required to make the regularly scheduled payments, unless We have agreed
to a change in the payment schedule, Because this is a simple interest loan, if You do not make payments exactly as scheduled,
Your final payment may be more or less than the amount of the final payment that is disclosed. If You elect voluntary payment
protection, We will either include the premium or program aes) in Your payments or extend the term of Your loan. If the term is
extended, You will be required to make additional payments of the scheduled amount, until what You owe has been paid. You
promise to make ail payments to the place We choose. If this loan refinances another loan You have with Us, the other joan will
e canceled and refinanced as of the date of this loan, Unless otherwise required by law, payments will be applied to amounts
owed in the manner We choose.
3. LOAN PROCEEDS BY MAIL - if the proceeds of this loan are malled to You, interest on this loan begins on the date the loan
proceeds are mailed to You.

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4, SECURITY FOR LOAN - This Agreement is secured by all property described in the “Security” section of the Truth in Lending
Disclosure. Property securing other loans You have with Us also secures this loan, unless the property is a dwelling or otherwise
prohibited by federal and/or state law. in addition to Your pledge of shares, We may also have what is known as a statutory lien
on all individual and joint accounts You have with Us, A statutory lien means We have the right under federal and/or state law to
claim an interest in Your accounts, Unless otherwise prohibited by federal and/or state law, We can enforce a Siatiory e0
against Your shares and dividends and, if any, interest and deposits, in all Individual and joint accounts You have with Us to
satisfy any outstanding financial obligation that is due and payable to Us. We may exercise Our right to enforce this lien without
further notice to You, to the extent permitted by law. For aif borrowers: You pledge as security for this loan ali shares and
dividends and, if any, all deposits and Interest in all joint and individual accounts You have with the Credit Union now and in the
future, The statutory lien and/or Your pledge will allow Us to apply the funds in Your account(s) to what You owe when
You are in default. if a dollar amount and account number are fisted in the "Security" section of the Truth in Lending Disclosure,
You may not withdraw the amount that has been specifically pledged to secure this loan until the Credit Union agrees to release
all or part of the pledged amount. The statutary lien and Your pledge do not apply to any Individual Retirement Account or any
other account that would losé special tax treatment under state ar federal law if given as securily.
5. DEFAULT - You will be in default under this Agreement if You do not make a payment of the amount required on or before the
date itis due. You will be in default if You break any promise You made in connection with this loan or if anyone is in default
under any securlly agreement made in connection with this Agreement. You will be in default if You die, file for bankruptey,
become insoivent (that is, unable to pay Your bills and foans as they become due}, or if You made any faise or misleading
statements in Your loan application. You will also be in default if something happens that We belleve may seriously affect Your
ability to repay what You owe under this Agreement or if You are in default under any other loan agreement You have with Us.
6. ACTIONS AFTER DEFAULT - When You are in default, We may demand immediate payment of the entire unpaid balance
under this Agreement. If We demand immediate payment, You will continue to pay interest at the rate provided for in this
Agreement, until what You owe has been repaid. We will also apply against what You owe any shares and/or deposits
given as security under this Agreement. We may also exercise any other rights given by law when You are In default. Unless
You are a Covered Borrower under the Military Lending Act, You waive any right You have to receive demand for
payment, notice of intent to demand immediate payment and notice of demand for immeciate payment.
7. EACH PERSON RESPONSIBLE - Each person who signs, or otherwise authenticates, this Agreement will be individually and
jointly responsible for paying the entire amount owed under this Agreement. This means We can enforce Our rights against any
one of You individually or against all of You together.
8 LATE CHARGE - If You are late in making a payment, You promise to pay the late charge shown in the Truth in Lending
Disclosure. If no late charge is shown, You will not be charged one.
9. DELAY IN ENFORCING RIGHTS - We can delay enforcing any of Our rights under this Agreement any number of times
without losing the ability to exercise Our rights later. We can enforce this Agreement against Your heirs or legal representatives.
10. ee EFFECTIVENESS - If any part of this Agreement |s determined by a court to be unenforceable, the rest will
remain in effect.
; 4 NES Notices will be sent to You at the most recent address You have given Us in writing. Notice to any one of You will
2 notice to all.
42. USE OF ACCOUNT ~ You promise to use Your account for consumer (personal, family or household) purposes, unless the
Ged Union gives You written permission to use the account also for agricultural or commercial purposes, or to purchase real
estate.
13. NO ORAL AGREEMENTS -- THIS NOTE CONSTITUTES A "WRITTEN LOAN AGREEMENT" PURSUANT TO
SECTION 26.02 OF THE TEXAS BUSINESS AND COMMERCE CODE, IF SUCH SECTION APPLIES. THIS
WRITTEN LOAN AGREEMENT REPRESENTS THE FINAL AGREEMENT BETWEEN THE PARTIES AND MAY
NOT BE CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS, OR SUBSEQUENT ORAL
SGREEYENTS OF THE PARTIES. THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE
14. The following is required by Vermont law: NOTICE TO COSIGNER: YOUR SIGNATURE ON THIS NOTE MEANS THAT
YOU ARE EQUALLY LIABLE FOR REPAYMENT OF THIS LOAN. IF THE BORROWER DOES NOT PAY, THE LENDER HAS
A LEGAL RIGHT TO COLLECT FROM YOU.
15. NOTICE TO UTAH BORROWERS: This written Agreement is the final expression of the Agreement between You and the
Credit Union. This written Agreement may not be contradicted by evidence of any oral agreement.
46. OTHER PROVISIONS -

| understand and agree that my failure to properly secure or lo cooperate with you, the Credif Union, te properly secure a first priority security Interest In
collateral | have pledged under this Agreement within twenty(20) days of such advance shall result injan ANNUAL PERCENTAGE of 18% belng charged to the
total outstanding balance for that advance and my payment will adjust accordingly. In the event] subsequently produce evidence acceptabie to you that a en
has been placed providing the Credit Union with a first priority security Interest In the colfateral pledged, you will relnstate the initial Annual Percentage Rate and
payment to the rate and payment of this agreement,

He ee SECURITY: AGREEMENT eo SE
ement") all references fo “Credit Union", "We", "Our" or "Us" mean the Credif Union whos

4. THE SECURITY FOR THE LOAN - You give Us what is known as a security interest in the Property described in the “Security”
section of the Truth in Lending Disclosure that is part of this document ("the Property"). The security interest You give Includes all
accessions. Accessions are things which are attached to or Installed in the Property now or in the future. The security interest
also includes any replacements for the Property which You buy within 10 days of the Loan and any extensions, renewals or
refinancings of the Loan. It also includes any money You receive from selling the Property or from insurance You have on the
Praperty, If the value of the Property declines, You promise to give Us more property as security If asked to do so.

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2, WHAT THE SECURITY INTEREST COVERS/CROSS COLLATERAL PROVISIONS - The security interest secures the Loan
and any extensions, renewals or refinancings of the Loan. Unless prohibited by applicable law, the securify Interest also
secures any other loans, including any credit card joan, You have now or receive in the future from Us and any other
amounts You owe Us for any reason now or in the future, except any loan secured by Your principal dwelling. If the
Property is household goods as defined by the Federal Trade Commission Credit Practices Rule or Your principal dweliing, the
Property will secure only this Loan and not other loans or amounts You owe Us.
3. OWNERSHIP OF THE PROPERTY - You promise that You own the Property or, if this Loan is to buy the Property, You
promise You will use the Loan proceeds for that purpose. You promise that no one else has any interest in or claim against the
roperty that You have not already told Us about. You promise not to sell or lease the Property or to use it as security for a loan
with another creditor until the Loan Is repaid. You promise You will allow no other security interest or lien to attach to the Property
elther by Your actions or by operation of law.
4, PROTECTING THE SECURITY INTEREST - if Your state issues a title for the Property, You promise to have Our security
interest shown on the title. We may have to file what is called a financing statement to pried Our security Interest from the
claims of others. You irrevocably authorize Us to execute (on Your benall), if applicable, and file one or more financing,
continuation or amendment statements pursuant fo the Uniform Commercial Code (UCC) in a form satisfactory to Us. You
promise to do whatever else We think is necessary to protect Our security interest in the Property. You also promise to pay all
costs, including but not limited to any attorney fees, We incur in protecting Our security interest and rights in the Property, to the
extent permitted by applicable law.
5. USE OF PROPERTY - Until the Loan has been paid off, You promise You will: () Use the Property carefully and keep it in
good repair. (2) Obtain Our written permission before making major changes to the Property or changing the address where the
Property is kept. (3) Inform Us in writing before changing Your address. (4) Allow Us to inspect the Property. (5) Promptly notify
Us if the Property is damaged, stolen or abused. (6) Not use the Property for any unlawful purpose. (7) Not retitle the Property in
another state without telling Us,
6, PROPERTY INSURANCE, TAXES AND FEES - You promise ic pay all taxes and fees (like registration fees) due on the
Property and to keep the- Property Insured against loss and damage. The amount and coverage of the property insurance must
be acceptable to Us. You may previge the property Insurance through a policy You already have, or through a policy You get and
pay for. You promise to make the insurance policy payable to Us and to deliver the policy or proof of coverage to Us if asked to
0 80,
If You cancel Your insurance and get a refund, We have a right to the refund. If the Property is lost or damaged, We can use the
insurance settlement to repair the Property or apply it towards what You owe, You authorize Us to endorse any draft or check
which may be payable to You in order for Us to collect any refund or benefits due under Your insurance policy.
if You do not pay the taxes or fees on the Property when due or keep it insured, We may pay these obligations, but We are not
required to do so. Any money We spend for taxes, fees or insurance will be added to the unpaid balance of the Loan and You will
pay interest on those amounts at the same rate You agreed to pay on the Loan. We may receive payments In connection with the
insurance from a company which provides the insurance. We may monitor Our loans for the purpose of determining whether You
and other borrowers have complied with the insurance requirements of Our loan agreements or may engage others to do so, The
insurance charge added to the Loan may include (1) the insurance company's payments to Us and (2) the cost of determining
compliance with the Insurance requirements. if We add amounts for taxes, fees or insurance to the unpaid balance of the Loan,
We may increase Your payments to pay the amount added within the term of the insurance or term of the Loan.
7. INSURANCE NOTICE - lf You do not purchase the required property Insurance, the insurance We may purchase and charge
You for will cover only Our interest in the Property. The premium for this insurance may be higher because the insurance
company may have given Us the right to purchase insurance after uninsured collateral is lost or damaged. The insurance will
not be liability insurance and will not satisfy any state financial responsibility or no fault laws.
8. DEFAULT - You will be in default if You break any promise You make or fall to perform any obligation You have under this
Agreement. You will also be in default under this Agreement if the Loan is in default. You will be In default if any Property You
have given Us as security is repossessed by someone else, seized under a forfeiture or similar law, or if anything else happens
ihat significantly affects the value of the Property or Our security interest in it.
9. WHAT HAPPENS IF YOU ARE IN DEFAULT - When You are in default, We may demand immediate payment of the
outstanding balance of the Loan without giving You advance notice and take possession of the Property. You agree the Credit
Union has the right to take possession of the Property without judicial process if this can be done without breach of the peace. If
We ask, You promise to deliver the Property at a time and place We choose. !f the Property ls a motor vehicle or boat, You agree
that We may obtain a key or other device necessary to unlock and operate it, when You are in default. We will not be responsible
for any other property not covered by this Agreament that You leave Inside the Property or that is attached to the Properly. We
will try to return that properly to You or make it available for You to claim.
After We have possession of the Property, We can sell it and apply the money to any amounts You owe Us. We will give You
notice of any public disposition or the date after which a private disposition will be held. Our expenses for taking possession of
and selling the Property will be deducted from the money received from the sale. Those costs may include the cost of storing the
Property, preparing it for sale and attorney's fees to the extent parmitted under state law or awarded under the Bankruptcy Code.
if You have agreed to pay the Loan, You must pay any amount that remains unpaid after the sale money has been applied to the
unpaid balance of the Loan and to what You owe under this Agreement. You agree to pay interest on that amount at the same
rate as the Loan until that amount has been pald.
10, DELAY IN ENFORCING RIGHTS AND CHANGES IN THE LOAN - We can delay enforcing any of Our rights under this
Agreement any number of times without losing the ability to exercise Our rights later. We can enforce this Agreement against
Your heirs or legal representatives, lf We change the terms of the Loan, You agree that this Agreement will remain in effect.
11. SOnTIEEO EFFECTIVENESS - If any part of this Agreement is determined by a court to be unenforceable, the rest will
remain in effect.
12, NOTICE FOR ARIZONA OWNERS OF PROPERTY - it is unlawful for You fo fail to return a motor vehicle that is subject to a
security interest, within thirty days after You have received notice of default. The notice will be mailed to the address You gave
Us. it Is Your responsibility to notify Us if Your address changes. The maximum penalty for uniawful fallure to return a motor
vehlole is one year in prison and/or a fine of $150,000.00.

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of
[Credit Union Community Choice Credit Union Acct No. Loan No. 0006 |

(] The following notice applies ONLY when the box at left is marked,
13. NOTICE: ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT [S SUBJECT TO ALL CLAIMS AND
DEFENSES WHICH THE DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR SERVICES
OBTAINED PURSUANT HERETO OR WITH THE PROCEEDS HEREOF. RECOVERY HEREUNDER BY THE
DEBTOR SHALL NOT EXCEED AMOUNTS PAID BY TFHE DEBTOR HEREUNDER.

144, OTHER PROVISIONS -

i = “SIGNATURES © nd
By signing. “OF relierwize authenticating, a as Berowel, “You agree io the tems of ihe Tear AGiesipan 7 Property i is 5 described in

the "Security" section of the Truth in Lending Disclosure, You also agree to the terms of the Security Agreement. if You sign, or
otherwise authenticate, as “Owner of Property” You agree only to the terms of the Security Agreement.

CAUTION: IT IS IMPORTANT THAT YOU THOROUGHLY READ THE AGREEMENT BEFORE YOU SIGN IT

13
Borrower 1 Signature : Bate Borrower 2 Signature Date
Heme 1/24/2023 || 1118 pM PST
x {Seal} X {Seal}
CH
Signature Date | Signature Date
X {Seal} X (Seal)
[__] Bowower 3: [| Borrower 4:
Signature Date | Signature Date |
X (Seal) | xX {Seal} |
[_] Owner of Property: Ej owner of Property: /
Signature Dale : Signature Bata
X (Seal X (Seal)
[_] Witness: LF Witess:

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